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 1 COSCA LAW CORPORATION
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 3 (916) 440-1010

 4 Attorney for Defendant
   RYAN CHEAL
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 7                             IN THE UNITED STATES DISTRICT COURT

 8                                EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                              2:12-CR-0185-TLN
11                                 Plaintiff,               STIPULATION AND ORDER TO
                                                            CONTINUE JUDGMENT AND
12   v.                                                     SENTENCE
13   RYAN CHEAL,
14                                 Defendant.
15

16                                             STIPULATION
            The parties, by and through their counsel of record, hereby stipulate that the sentencing
17

18 hearing currently scheduled for November 14, 2019, should be continued to April 30, 2020, at 9:30

19 a.m. A continuance is necessary because, while Mr. Cheal has pled guilty, a co-defendant is pending

20 trial, thus Mr. Cheal has not yet completed his cooperation obligations under his plea agreement.

21
     Moreover, any trial testimony by Mr. Cheal may help the Court gauge his remorse and rehabilitation,
22
     and thus assist the Court as it determines the sentence for Mr. Cheal.
23
     IT IS SO STIPULATED.
24

25 DATED:           November 5, 2019              /s/ Jason Hitt
                                                  JASON HITT
26                                                Assistant United States Attorney
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                                                        1
     USA v. Cheal, Stip and Order to Con’t J&S
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 1 DATED:          November 5, 2019              /s/ Chris Cosca
                                                 CHRIS COSCA
 2                                               Counsel for Defendant
                                                 RYAN CHEAL
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 5

 6                                               ORDER
 7
     IT IS SO FOUND AND ORDERED this 6th day of November, 2019.
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                                                              Troy L. Nunley
12                                                            United States District Judge

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     USA v. Cheal, Stip and Order to Con’t J&S
